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                                                                U.S.DiSTr^CT COURI
                                                                   S/sVAHtiAH OiV.
                 IN THE UNITED STATES DISTRICT COTOT
                                                                2ljl9i^i^R-U PH |:08
                FOR THE SOUTHERN DISTRICT OF GEORGIA


                            SAVANNAH DIVISION
                                                                  SO. D1   OF GA.


THE UNITED STATES OF AMERICA,

                Plaintiff,

                 V.                             4:18CR273


REGINALD ERIC LEE,

                Defendant.




                                 ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all
matters raised in the parties' motions have been resolved by

agreement.     Therefore,    a   hearing   in     this   case     is   deemed
unnecessary.    All motions are dismissed.



     SO ORDERED, this            day of February, 2019.



                                  UNITED STATES MAGIST^TE JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA
